     Case 3:19-cv-02491-RSH-LR Document 87 Filed 05/23/23 PageID.1608 Page 1 of 3



 1
 2
 3
 4
 5
 6
 7
 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
10
11    THE GEO GROUP, INC.                                Case No.: 19-CV-02491-RSH-LR
                                        Plaintiff,
12
                                                         Consolidated with Case No.
      v.
13                                                       3:20-CV-0154-RSH-LR
      GAVIN C. NEWSOM, in his official
14
                                                         FINAL JUDGMENT AND
      capacity as Governor of the State of
15                                                       PERMANENT INJUNCTION
      California, et al.,
16
                                    Defendants.
17
18
      UNITED STATES OF AMERICA,
19                           Plaintiff,
20    v.
21    GAVIN C. NEWSOM, in his official
22    capacity as Governor of the State of
23    California, et al.,
24                                   Defendants
25
26
27
28

                                                     1
                                                                                19-CV-02491-RSH-LR
     Case 3:19-cv-02491-RSH-LR Document 87 Filed 05/23/23 PageID.1609 Page 2 of 3



 1                 FINAL JUDGMENT AND PERMANENT INJUNCTION
 2         On the joint motion of the parties, the Court having considered the Stipulation for
 3   Entry of Final Judgment and Permanent Injunction (ECF No. 86) and finding good cause,
 4   it is hereby ORDERED as follows:
 5   I.    DEFINITIONS
 6         For purposes of this Order, the following definitions apply:
 7         1.     “AB 32” refers to California Penal Code section 9501, which states that “a
 8   person shall not operate a private detention facility within the state.”
 9         2.     “Defendants” refers to Gavin Newsom, in his official capacity as Governor of
10   the State of California, his successors in office, and their agents acting within the scope of
11   their official duties; Rob Bonta, in his official capacity as Attorney General of the State of
12   California, his successors in office, and their agents acting within the scope of their official
13   duties; and the State of California.
14         3.     “Plaintiffs” refers to The GEO Group, Inc., and the United States of America.
15         4.     “Person” means that term as used in California Penal Code sections 9500
16   through 9505.
17         5.     “Private Detention Facility” refers to that term as defined in California Penal
18   Code section 9500(b).
19   II.   JUDICIAL DECLARATION
20         The Court issues the following judicial declaration of rights and responsibilities as
21   between: (a) Plaintiff The GEO Group, Inc. and all Defendants except the State of
22   California; and (b) Plaintiff the United States and all Defendants.
23         IT IS HEREBY DECLARED that, under the Supremacy Clause of the United
24   States Constitution, AB 32 is unconstitutional and invalid as applied to any Person who is
25   operating a Private Detention Facility pursuant to a contract with:
26         • the United States Immigration and Customs Enforcement agency;
27         • the United States Marshals Service; or,
28

                                                    2
                                                                                   19-CV-02491-RSH-LR
     Case 3:19-cv-02491-RSH-LR Document 87 Filed 05/23/23 PageID.1610 Page 3 of 3



 1          • any other federal agency to the extent that the agency is acting pursuant to the
 2             authority and discretion to detain a person or persons pursuant to the Immigration
 3             and Nationality Act or 18 U.S.C. § 4013(a)(3).
 4   III.   PERMANENT INJUNCTION
 5          The Court ORDERS the following injunction based on the claims of: (a) Plaintiff
 6   The GEO Group, Inc. against all Defendants except the State of California; and (b) Plaintiff
 7   the United States against all Defendants.
 8          IT IS HEREBY ORDERED that Defendants, as applicable pursuant to the
 9   preceding paragraph, shall be permanently enjoined from enforcing AB 32 against any
10   Person who is operating a Private Detention Facility pursuant to a contract with:
11          • the United States Immigration and Customs Enforcement agency;
12          • the United States Marshals Service; or,
13          • any other federal agency to the extent that the agency is acting pursuant to the
14             authority and discretion to detain a person or persons pursuant to the Immigration
15             and Nationality Act or 18 U.S.C. § 4013(a)(3).
16   IV.    OTHER ORDERS
17          It is further ORDERED that this Court shall retain jurisdiction of this matter solely
18   for the purpose of enforcing this Order.
19          It is further ORDERED that all other relief sought in Plaintiffs’ complaints in these
20   consolidated cases, including attorneys’ fees and costs, is DENIED.
21          FINAL JUDGMENT IS ENTERED pursuant to the terms of this Order.
22          IT IS SO ORDERED.
23
24   Dated: May 23, 2023                         ____________________
                                                 Hon. Robert S. Huie
25
                                                 United States District Judge
26
27
28

                                                  3
                                                                                19-CV-02491-RSH-LR
